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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-653V
                                       Filed: March 4, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
HECTOR TREJO,                 *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine; Guillain-
                              *                               Barré Syndrome (“GBS”).
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Hector Trejo, Pro Se.
Linda Renzi, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION1

        On September 9, 2013, Hector Trejo (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleges that he suffered from Brachial Neuritis3 as a result of a Tetanus, Diphtheria and
Acellular Pertussis (“Tdap”) vaccine administered to him on September 6, 2010.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 In the Petition, Petitioner alleged that he suffered from Brachial Neuritis after receiving the
Tdap vaccination. However, in the Stipulation, Petitioner alleged that he suffered from Guillain-
Barre Syndrome (“GBS”) as a result of the Tdap vaccination.

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       On March 2, 2015, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation.

        Respondent denies that the Tdap vaccine caused Petitioner’s alleged GBS or any other
injury or his current condition. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $150,000.00, in the form of a check payable to Petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. §300aa-15(a), except as set forth in paragraphs 8.b, 8.c, and 8.d;

       A lump sum of $7,587.00, which amount represents an award for litigation costs
       incurred by Petitioner, in the form of a check payable to Petitioner, Hector Trejo;

       A lump sum of $4,500.00, which amount represents reimbursement for costs
       associated with alternative dispute resolution services provided by Gary J.
       Golkiewicz, in the form of a check payable jointly to Petitioner and Gary J.
       Golkiewicz

       Petitioner agrees to endorse this check to Gary J. Golkiewicz.

       An amount sufficient to purchase the annuity contract described in paragraph 10 of
       the Stipulation, paid to the life insurance company from which the annuity will be
       purchased (the “Life Insurance Company”).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.4

       IT IS SO ORDERED.

                                               _______________________
                                               Lisa Hamilton-Fieldman
                                               Special Master
4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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